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 UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

 United States of America             *
                                      *
               v.                     *
                                      *          Case No.: 21-CR-00028-APM
 Thomas Edward Caldwell, et. al.      *
                Defendants            *

                                    ORDER

      WHEREAS the Court has considered the Government’s Motion for a

Protective Order, Defendant Thomas Edward Caldwell’s Response and Request to

deny Entry of Protective Order;

      Upon consideration of the arguments, the request for a Protective Order is

denied.


February __, 2021                    ____________________________
                                     Judge Armit P. Mehta, U.S. District Judge
